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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No. 16-cv-62096-BLOOM/Valle

 WILLIAM POOLE, JR,

        Plaintiff,
 v.

 COFAB PROPERTIES INCORPORATED,

       Defendant.
 __________________________________/
                                             ORDER

        THIS CAUSE is before the Court upon a sua sponte examination of the record. Plaintiff

 filed this action on September 1, 2016. ECF No. [1]. On December 9, 2016, this Court entered

 an Order, ECF No. [26], requiring Plaintiff to file a Motion for Default Final Judgment or a

 Notice of Joint Liability on or before December 27, 2016 as to Defendant. Plaintiff failed to

 comply, and the Court entered a second order requiring Plaintiff to file a Motion for Default

 Final Judgment or a Notice of Joint Liability on or before January 5, 2017. ECF No. [27].

 Plaintiff again failed to comply and the Court entered a third order requiring Plaintiff to file a

 Motion for Default Final Judgment or a Notice of Joint Liability on or before January 20, 2017.

 ECF No. [28]. The Court twice informed Plaintiff that failure to comply would result in

 dismissal without prejudice and without further notice. ECF Nos. [27], [28]. The time for

 compliance has again passed and, to date, Plaintiff has failed to file the documents nor has the

 Plaintiff asked for an extension of time by which to do so.

        It is therefore ORDERED AND ADJUDGED that this action is DISMISSED

 WITHOUT PREJUDICE. The Clerk is instructed to CLOSE this case.
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                                                   Case No. 16-cv-62096-BLOOM/Valle


       DONE AND ORDERED in Miami, Florida, this 27th day of January, 2017.




                                                _________________________________
                                                BETH BLOOM
                                                UNITED STATES DISTRICT JUDGE

 Copies to:
 William Poole, Jr
 1016 NE 17th Avenue
 Apt 4
 Ft Lauderdale, FL 33304




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